287 F.2d 570
    James P. THOMPSON and Eugene Haasv.Warden Harry TINSLEY.
    No. 6513.
    United States Court of Appeals Tenth Circuit.
    November 16, 1960.
    
      Appeal from the United States District Court for the District of Colorado.
      James Croft Fattor, Denver, Colo., for appellants.
      Duke W. Dunbar, Atty. Gen., and J. F. Brauer, Asst. Atty. Gen., State of Colorado, for appellee.
      Before BRATTON, PICKETT and BREITENSTEIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed without written opinion.
    
    